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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           NOTICE OF ERATTA RE DEBTORS’
                                                       MOTION FOR ENTRY OF AN
15
15    FITNESS ANYWHERE LLC, a Delaware                 ORDER           AUTHORIZING
16    limited liability company, dba TRX and TRX       REJECTION OF SEPARATION AND
16
      Training,                                        RELEASE      OF       CLAIMS
17
17                                                     AGREEMENT      WITH     JOHN
              Debtor and Debtor in Possession.         HUTCHISON
18
18    ____________________________________
                                                       DATE:      June 24, 2022
19
19                                                     TIME:      10:00 a.m.
20       Affects both Debtors                          PLACE:     *Via ZoomGov
20
                                                                  Courtroom 5C
21
21      Affects TRX Holdco, LLC only                              411 West Fourth Street
                                                                  Santa Ana, CA 92701
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22       Affects Fitness Anywhere, LLC only
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 11          TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere LLC,                dba TRX and TRX

 22   Training (“Product Co” and together with Hold Co and Product Co, the “Debtors”), the debtors

 33   and debtors-in-possession in the above-captioned, jointly-administered Chapter 11 bankruptcy

 44   cases, hereby file this notice of errata to correct the misspelling of the name of John Hutchison,

 55   the counter-party to that certain “Separation And Release Agreement” and any agreement related

 66   thereto (collectively, the “Agreement”) which is the subject of the Debtors’ Motion For Entry Of

 77   An Order Authorizing Rejection Of Separation And Release Of Claims Agreement With John

 88   Hutchison. The contracting counterparty to the Agreement is John Hutchison.

 99   Dated: June 20, 2022                         TRX HOLDCO, LLC
10
10                                                 FITNESS ANYWHERE LLC

11
11                                                 By:    /s/ Krikor J. Meshefejian
                                                          RON BENDER
12
12                                                        KRIKOR J. MESHEFEJIAN
                                                          LINDSEY L. SMITH
13
13
                                                          LEVENE, NEALE, BENDER,
14
14                                                        YOO & GOLUBCHIK L.L.P.
                                                          Proposed Attorneys for Chapter 11 Debtors
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15                                                        and Debtors in Possession
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 2818
La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): NOTICE OF ERATTA RE DEBTORS’ MOTION FOR
ENTRY OF AN ORDER AUTHORIZING REJECTION OF SEPARATION AND RELEASE OF CLAIMS AGREEMENT
WITH JOHN HUTCHISON will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 20, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 20, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 20, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY OVERNIGHT MAIL
John Hutchison
665 Blair Avenue
Piedmont CA 94611

SERVED BY EMAIL BY ATTORNEY KRIKOR J. MESHEFEJIAN
Michael Hauser of the UST michael.hauser@usdoj.gov
John Hutchison john.w.hutchison@gmail.com
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 20, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
